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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


  LEILANI JASINSKI DEMINT, et al.,

        Plaintiffs,

  v.                                                       CASE NO. 8:94-cv-995-T-23

  NATIONSBANK OF FLORIDA, N.A.,
  et al.,

        Defendants.
  ____________________________________/



                                        ORDER

        In accord with Lead Counsel’s status report (Doc. 290), the clerk is directed to

  close the case.

        ORDERED in Tampa, Florida, on June 1, 2015.
